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 8
 9
10
                         UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF CALIFORNIA
11
12     Jose Estrada,                          Case No. '18CV0123 JM NLS
13               Plaintiff,                   Complaint For Damages And
                                              Injunctive Relief For Violations
14        v.                                  Of: American’s With Disabilities
                                              Act; Unruh Civil Rights Act
15     Santa Fe Shopping Depot, LTD., a
       California Limited Partnership;
16     Richard S. Goetz & Company,
       Inc., a California Corporation;
17     Trophy Properties, Inc., a
       California Corporation; and Does 1-
18     10,
19                Defendants.
20
21
22         Plaintiff Jose Estrada complains of Defendants Santa Fe Shopping
23   Depot, LTD., a California Limited Partnership; Richard S. Goetz & Company,
24   Inc., a California Corporation; Trophy Properties, Inc., a California
25   Corporation; and Does 1-10 (“Defendants”) and alleges as follows:
26
27         PARTIES:
28     1. Plaintiff is a California resident with physical disabilities. He is a


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 1   paraplegic who cannot walk and who uses a wheelchair for mobility. He drives
 2   a van with an electric ramp and uses portable hand controls.
 3     2. Defendants Santa Fe Shopping Depot, LTD and Richard S. Goetz &
 4   Company, Inc. owned the real property located at or about 2461 San Diego
 5   Ave., San Diego, California, in November 2017.
 6     3. Defendants Santa Fe Shopping Depot, LTD and Richard S. Goetz &
 7   Company, Inc. own the real property located at or about 2461 San Diego Ave.,
 8   San Diego, California, currently.
 9     4. Defendant Trophy Properties, Inc. owned the Café Coyote located at or
10   about 2461 San Diego Ave., San Diego, California, in November 2017.
11     5. Defendant Trophy Properties, Inc. owns the Café Coyote restaurant
12   (“Restaurant”) located at or about 2461 San Diego Ave., San Diego,
13   California, currently.
14     6. Plaintiff does not know the true names of Defendants, their business
15   capacities, their ownership connection to the property and business, or their
16   relative responsibilities in causing the access violations herein complained of,
17   and alleges a joint venture and common enterprise by all such Defendants.
18   Plaintiff is informed and believes that each of the Defendants herein, including
19   Does 1 through 10, inclusive, is responsible in some capacity for the events
20   herein alleged, or is a necessary party for obtaining appropriate relief. Plaintiff
21   will seek leave to amend when the true names, capacities, connections, and
22   responsibilities of the Defendants and Does 1 through 10, inclusive, are
23   ascertained.
24
25     JURISDICTION & VENUE:
26     7. This Court has subject matter jurisdiction over this action pursuant to
27   28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans
28   with Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.


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 1     8. Pursuant to supplemental jurisdiction, an attendant and related cause of
 2   action, arising from the same nucleus of operative facts and arising out of the
 3   same transactions, is also brought under California’s Unruh Civil Rights Act,
 4   which act expressly incorporates the Americans with Disabilities Act.
 5     9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
 6   founded on the fact that the real property which is the subject of this action is
 7   located in this district and that Plaintiff's cause of action arose in this district.
 8
 9     FACTUAL ALLEGATIONS:
10     10. Plaintiff went to the Restaurant in November 2017 to eat.
11     11. The Restaurant is a facility open to the public, a place of public
12   accommodation, and a business establishment.
13     12. Restrooms are one of the facilities, privileges and advantages offered
14   by Defendants to patrons of the Restaurant.
15     13. The restroom mirror was mounted on the wall so that its bottom edge
16   was more than 40 inches above the finish floor.
17     14. The restroom sink was mounted such that the counter or rim was higher
18   than 34 inches above the finish floor.
19     15. The plumbing underneath the sink was not wrapped to protect against
20   burning contact.
21     16. Currently, the restroom mirror is mounted on the wall so that its bottom
22   edge is more than 40 inches above the finish floor.
23     17. Currently, the restroom sink is mounted such that the counter or rim is
24   higher than 34 inches above the finish floor.
25     18. Currently, the plumbing underneath the sink is not wrapped to protect
26   against burning contact.
27     19. Plaintiff personally encountered these barriers.
28     20. These inaccessible conditions denied the plaintiff full and equal access


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 1   and caused him difficulty and frustration.
 2     21. Plaintiff would like to return and patronize the Restaurant but will be
 3   deterred from visiting until the Defendants cure the violations.
 4     22. The Defendants have failed to maintain in working and useable
 5   conditions those features required to provide ready access to persons with
 6   disabilities.
 7     23. The violations identified above are easily removed without much
 8   difficulty or expense. They are the types of barriers identified by the
 9   Department of Justice as presumably readily achievable to remove and, in
10   fact, these barriers are readily achievable to remove. Moreover, there are
11   numerous alternative accommodations that could be made to provide a greater
12   level of access if complete removal were not achievable.
13     24. For example, the mirror in the restroom could be removed or lowered
14   so that it is accessible.
15     25. Wrap can be installed under the sink at a cost of no more than $25.
16     26. Plaintiff is and has been deterred from returning and patronizing the
17   Restaurant because of his knowledge of the illegal barriers that exist. Plaintiff
18   will, nonetheless, return to assess ongoing compliance with the ADA and will
19   return to patronize the Restaurant as a customer once the barriers are removed.
20     27. Given the obvious and blatant violation, the plaintiff alleges, on
21   information and belief, that there are other violations and barriers on the site
22   that relate to his disability. Plaintiff will amend the complaint, to provide
23   proper notice regarding the scope of this lawsuit, once he conducts a site
24   inspection. However, please be on notice that the plaintiff seeks to have all
25   barriers related to his disability remedied. See Doran v. 7-11, 524 F.3d 1034
26   (9th Cir. 2008) (holding that once a plaintiff encounters one barrier at a site,
27   he can sue to have all barriers that relate to his disability removed regardless
28   of whether he personally encountered them).


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 1     28. Additionally, on information and belief, the plaintiff alleges that the
 2   failure to remove these barriers was intentional because: (1) these particular
 3   barriers are intuitive and obvious; (2) the defendants exercised control and
 4   dominion over the conditions at this location and, therefore, the lack of
 5   accessible facilities was not an “accident” because had the defendants
 6   intended any other configuration, they had the means and ability to make the
 7   change.
 8
 9   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
10   WITH DISABILITIES ACT OF 1990 (On behalf of plaintiff and against all
11   defendants (42 U.S.C. section 12101, et seq.)
12     29. Plaintiff repleads and incorporates by reference, as if fully set forth
13   again herein, the allegations contained in all prior paragraphs of this
14   complaint.
15     30. Under the ADA, it is an act of discrimination to fail to ensure that the
16   privileges, advantages, accommodations, facilities, goods and services of any
17   place of public accommodation is offered on a full and equal basis by anyone
18   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
19   § 12182(a). Discrimination is defined, inter alia, as follows:
20             a. A failure to make reasonable modifications in policies, practices,
21                or procedures, when such modifications are necessary to afford
22                goods,    services,   facilities,   privileges,     advantages,   or
23                accommodations to individuals with disabilities, unless the
24                accommodation would work a fundamental alteration of those
25                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
26             b. A failure to remove architectural barriers where such removal is
27                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
28                defined by reference to the ADAAG, found at 28 C.F.R., Part 36,


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 1               Appendix “D.”
 2            c. A failure to make alterations in such a manner that, to the
 3               maximum extent feasible, the altered portions of the facility are
 4               readily accessible to and usable by individuals with disabilities,
 5               including individuals who use wheelchairs or to ensure that, to
 6               the maximum extent feasible, the path of travel to the altered area
 7               and the bathrooms, telephones, and drinking fountains serving the
 8               altered area, are readily accessible to and usable by individuals
 9               with disabilities. 42 U.S.C. § 12183(a)(2).
10     31. Mirrors shall be mounted with the bottom edge of the reflecting surface
11   no higher than 40 inches above the finish floor. 1991 Standards § 4.19.6; 2010
12   Standards § 603.3.
13     32. Here, the mirror was mounted higher than the maximum permitted and
14   is a violation of the ADA.
15     33. Sinks must be mounted so that the counter or rim is no higher than 34
16   inches above the finish floor. 1991 Standards § 4.24.2; 2010 Standards §
17   606.3.
18     34. Here, the sink was mounted higher than the maximum permitted and is
19   a violation of the ADA.
20     35. Hot water and drain pipes under lavatories must be insulated or
21   otherwise configured to protect against contact. 1991 Standards § 4.19.4; 2010
22   Standards §606.5.
23     36. Here, the failure to wrap the plumbing underneath the sink is a violation
24   of the ADA.
25     37. A public accommodation must maintain in operable working condition
26   those features of its facilities and equipment that are required to be readily
27   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
28     38. Here, the failure to ensure that the accessible facilities were available


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 1   and ready to be used by the plaintiff is a violation of the law.
 2     39. Given its location and options, plaintiff will continue to desire to
 3   patronize the Restaurant but he has been and will continue to be discriminated
 4   against due to the lack of accessible facilities and, therefore, seeks injunctive
 5   relief to remove the barriers.
 6
 7   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH
 8   CIVIL RIGHTS ACT (On behalf of plaintiff and against all defendants) (Cal
 9   Civ § 51-53)
10     40. Plaintiff repleads and incorporates by reference, as if fully set forth
11   again herein, the allegations contained in all prior paragraphs of this
12   complaint.
13     41. Because the defendants violated the plaintiff’s rights under the ADA,
14   they also violated the Unruh Civil Rights Act and are liable for damages. (Civ.
15   Code § 51(f), 52(a).)
16     42. Because the violation of the Unruh Civil Rights Act resulted in
17   difficulty, discomfort or embarrassment for the plaintiff, the defendants are
18   also each responsible for statutory damages, i.e., a civil penalty. (Civ. Code §
19   55.56(a)-(c).)
20
21         PRAYER:
22         Wherefore, Plaintiff prays that this court award damages and provide
23   relief as follows:
24       1. For injunctive relief, compelling defendants to comply with the
25   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
26   Plaintiff is not invoking section 55 of the California Civil Code and is not
27   seeking injunctive relief under the Disabled Persons Act at all.
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 1      2. Damages under the Unruh Civil Rights Act which damages provide for
 2   actual damages and a statutory minimum of $4,000.
 3      3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
 4   to 42 U.S.C. § 12205; Cal. Civ. Code § 52.
 5
 6   Dated: January 16, 2018         CENTER FOR DISABILITY ACCESS
 7
 8
                                     By: _______________________________
                                            _______________________
 9
                                            Isabel Masanque, Esq.
10                                          Attorney for Plaintiff
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